                                                                                                                    FILED IN THE
               Case 1:22-cr-02015-SMJ            ECF No. 3         filed 02/15/22       PageID.5 Page U.S.
                                                                                                      1 of    1 COURT
                                                                                                           DISTRICT
                                                                                                         EASTERN DISTRICT OF WASHINGTON



                                                                                                          Feb 15, 2022
                                              CHARGES AND PENALTIES                                             SEAN F. MCAVOY, CLERK


        CASE NAME: _______________________________
                   Taylor Jaron Antelope           CASE NO.                                 ______________________
                                                                                             1:22-CR-2015-SMJ-1


                                                   ✔
                                    1
                TOTAL # OF COUNTS: _______     _________FELONY     _________MISDEMEANOR      _________PETTY OFFENSE




Count            Statute                  Description of Offense                                      Penalty
                                                                           CAG not less than 10 years up to a life term;
                                                                           and/or a fine not to exceed $10,000,000;
                                 Possession with Intent to Distribute 50
        21 U.S.C. § 841(a)(1),                                             not less than 5 years up to a life term of supervised release;
  1                              Grams or More of Actual (Pure)
        (b)(1)(A)(viii)                                                    a $100 special penalty assessment; and,
                                 Methamphetamine
                                                                           denial of certain federal benefits pursuant to 21 U.S.C. §§
                                                                           862 and 862a.


        21 U.S.C. § 853          Forfeiture Allegations
